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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA



 THE KING/MOROCCO                                           CIVIL ACTION


 VERSUS                                                     NO: 18-8952


 BANNER CHEVROLET                                           SECTION: “J”(2)


                                        ORDER

      Local Rule 7.5 of the Eastern District of Louisiana requires that memoranda

in opposition to a motion be filed eight (8) days prior to the date set for hearing on the

motion. No memorandum in opposition to Defendant Banner of N.O., LLC’s Motion

to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) (Rec. Doc. 9), set for

hearing on January 8, 2019 was submitted. Additionally, Plaintiff failed to comply

with this Court’s Order directing him to file an Amended Complaint not later than

March 22, 2019 (Rec. Docs. 21, 22). Accordingly, the motion to dismiss is deemed to

be unopposed. Further, it appearing to the Court that the motion has merit,

      IT IS ORDERED that Defendant’s Motion to Dismiss (Rec. Doc. 9) is hereby

GRANTED. All claims asserted by Plaintiff King/Morocco against Defendant Banner

of N.O., LLC are hereby DISMISSED without prejudice.

      A motion for reconsideration of this order based on the appropriate Federal

Rule of Civil Procedure, if any, must be filed within thirty (30) days. The motion must

be accompanied by an opposition memorandum to the original motion. Because such

a motion would not have been necessary had a timely opposition memorandum been
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filed, the costs incurred in connection with the motion, including attorney’s fees, may

be assessed against the party moving for reconsideration. See Fed. R. Civ. P. 16.

      New Orleans, Louisiana, this 2nd day of April, 2019.



                                              CARL J. BARBIER
                                              UNITED STATES DISTRICT JUDGE
